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EXHIBIT G

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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

CARL FORSELL, CASE NQ. 5:22-cv-01454-ChH
JUDGE LIGI
Plaintiff,
MAGISTRATE JUDGE HENDERSON
v.

RESPONSES OF DEFENDANT
SQUIRRELS LLC TO PLAINTIFE’S
REQUESTS FOR ADMISSIONS

SQUIRRELS LLC, et al.

Defendants.
Defendant hereby responds to the requests for admissions served by Plaintiff. Defendant
objects to the definitions and instructions portion of the request to the extent that that section

attempts to impose burdens or obligations not imposed by the Civil Rules or Ohio law.

1. REQUEST FOR ADMISSION NO. 1: On June 18, 2018, in response to Invoice no.
00002860, Plaintiff wired a total of $67,000 to Squirrels to complete an order for the
BCU1S25 product. A true and accurate copy of Invoice no, 00002860 is attached to
the Amended Complaint as Exhibit A.

Defendant admits that, on June 17, 2018, Nonce Pte LTD wired $67,000.00 to
Squirrels, in Squirrels’ capacity as payment processor for Squirrels Research Labs,
LLC (““SQRL”), to complete an order for the BCU1525 product that was ordered from
Allmine, Inc. and/or SQRL. Defendant further admits that the copy of the invoice is
authentic. Otherwise, Defendant denies the remainder of the matter asserted.

2. REQUEST FOR ADMISSION NO, 2: On June 18, 2018, in response to invoice no.
00002865, Plaintiff wired a total of $63,500 to Squirrel to complete an order for the
BCUI525 product, A true and accurate copy of Invoice no, 00002865 is attached to
the Amended Complaint as Exhibit 1

Defendant admits that, on June 18, 2018, Nonce Pte LTD wired $63,506.00 to
Squirrels, in Squirrels’ capacity as payment processor for Squirrels Research Labs,
LLC (““SQRL”), to complete an order for the BCU1525 product that was ordered from
Allmine, Inc. and/or SQRL. Defendant further admits that the copy of the invoice is
authentic, Otherwise, Defendant denies the remainder of the matter asserted.

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6.

REQUEST FOR ADMISSION NO. 3: On June 28, 2018, in response to Invoice no.
00002981, Plaintiff wired a total of $167,500 to Squirrels to complete an order for
the BCUI525 product. A true and accurate copy of Invoice no, 00002981 is attached
to the Amended Complaint as Exhibit J.

Defendant admits that, on June 26, 2018, Nonce Pte LTD wired $167,500.00 to
Squirrels, in Squirrels’ capacity as payment processor for Squirrels Research Labs,
LLC (SQRL”), to complete an order for the BCU1525 product that was ordered from
Allmine, Inc. and/or SQRL. Defendant further admits that the copy of the invoice is
authentic, Otherwise, Defendant denies the remainder of the matter asserted.

REQUEST FOR ADMISSION NO. 4: Plaintiff did not wire or otherwise pay money
and/or other currency to SORL as part of the Transactions.

Defendant admits that Plaintiff did not wire or otherwise pay money or other currency
directly to SQRL in connection with the subject transactions. Otherwise, Defendant
denies the matter asserted,

REQUEST FOR ADMISSION NO. 5: Squirrels did not send Plaintiff the BCUIS25
product contemplated by the Transactions.

Admitted.

REQUEST FOR ADMISSION NO. 6: Squirrels has not refunded Plaintiff any
money and/or other currency paid as relevant to the Transactions.

Admitted,

REQUEST FOR ADMISSION NO. 7: Plaintiff had the right to request a refund of
the money and/or other currency paid as part of the Transactions.

Denied. Further denied as to Nonce Pte. Ltd.

REQUEST FOR ADMISSION NO. 8; Jessica Gritzan was employed by Squirrets on
April 3, 2019.

Admitted,

REQUEST FOR ADMISSION NO. 9: Squirrels agreed that Plaintiff is owed
$774,373.60 as relevant to the Transactions.

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Denied. Defendant admits that Squirrels agreed that the amount that Plaintiff and/or
Nonce Pte. Ltd., had paid for equipment that it did not receive from Allmine and SQRL
was $774,373.60. Otherwise, Defendant denies the matter asserted.

REQUEST FOR ADMISSION NO. 10: Squirrels offered to pay Plaintiff the sum of
$50,000 per month in the Fall of 2018 as repayment of the amount paid by Plaintiff
as relevant to the Transactions.

Denied. Defendant admits that Squirrels, as agent of SQRL, extended an offer in the
fall of 2018 that SQRL would pay $50,000.00 per month towards the refund of funds
paid by Plaintiff or Nonce Pte, Ltd, Otherwise, Defendant denies the matter asserted.

REQUEST FOR ADMISSION NO. 11: Invoice no. 00002860 identified in
Paragraph 18 of the Amended Complaint was issued by Squirrels on Squirrels
letterhead.

Defendant admits the allegations of this paragraph with the qualification that Squirrels
issued the invoice acting as payment processor and agent for SQRL and that the invoice
represented an obligation to SQRL fora sale to Nonce Pte. Ltd. Otherwise, Defendant
denies the matter asserted.

REQUEST FOR ADMISSION NO. 12: Invoice no. 00002865 identified in
Paragraph 19 of the Amended Complaint was issued by Squirrels on Squirrels

letterhead.

Defendant admits the allegations of this paragraph with the qualification that Squirrels
issued the invoice acting as payment processor and agent for SQRL and that the invoice
represented an obligation to SQRL for a sale to Nonce Pte, Ltd. Otherwise, Defendant
denies the matter asserted.

REQUEST FOR ADMISSION NO. 13: Invoice no. 00002981 identified in
Paragraph 20 of the Amended Complaint was issued by Squirrels on Squirrets
letterhead.

Defendant admits the allegations of this paragraph with the qualification that Squirrels
issued the invoice acting as payment processor and agent for SQRL and that the invoice
represented an obligation to SQRL for a sale to Nonce Pte. Ltd. Otherwise, Defendant
denies the matter asserted.

REQUEST FOR ADMISSION NO. 14: Squirrels received money and/or other
currency from Alimine as relevant to the Transactions.

Defendant admits that, solely in its role as payment processor and agent for SQRL, it
received funds from Allmine for equipment sold by SQRL and Allmine to Plaintiff or

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Nonce Pte, Ltd. pertaining to the subject transactions. Otherwise, Defendant denies the
matter asserted.

15. REQUEST FOR ADMISSION NO. 15: David Stanfill is the author of a February

24, 2020 message to Plaintiff, a true and accurate copy of which is attached to these
Discovery Requests as exhibit B.’

Defendant admits that David Stanfill, acting for SQRL, sent the message that is
attributed to “GPUHoarder” on Exhibit “B” and that it is authentic. Otherwise,
Defendant denies the matter asserted.

ts/ Jack B. Cooper

Jack B, Cooper (#0069321)

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PROOF OF SERVICE

This will certify that a copy of the foregoing was served on the following by the method(s)
indicated below, on May 15, 2024:

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